                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA                             )
                                                     )      Case No. 1-15-CR-47-CLC-SKL
                                                     )
v.                                                   )
                                                     )
                                                     )
JOSE OSORIO GARCIA                                   )


                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 30,

2015. At the hearing, defendant moved to withdraw his not guilty plea to Counts One and Five of

the eight-count Superseding Indictment and entered a plea of guilty to Counts One and Five of the

Superseding Indictment, in exchange for the undertakings made by the government in the written

amended plea agreement. On the basis of the record made at the hearing, I find the defendant is

fully capable and competent to enter an informed plea; the plea is made knowingly and with full

understanding of each of the rights waived by defendant; the plea is made voluntarily and free from

any force, threats, or promises, apart from the promises in the amended plea agreement; the

defendant understands the nature of the charge and penalties provided by law; and the plea has a

sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

One and Five of the Superseding Indictment be granted, his plea of guilty to Counts One and Five

of the Superseding Indictment be accepted, the Court adjudicate defendant guilty of the charges set

forth in Counts One and Five of the Superseding Indictment, and a decision on whether to accept




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the amended plea agreement be deferred until sentencing. I further RECOMMEND defendant

remain in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt,

acceptance of the amended plea agreement, and imposition of sentence are specifically reserved for

the district judge.

                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE


                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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